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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                            )
MAJOR, LINDSEY & AFRICA, LLC,                               )
                                                            )
                 Plaintiff,                                 )
v.                                                          )
                                                            )        Case No. 1:19-cv-003294-TNM
LAUREN DRAKE, et al.,                                       )
                                                            )
                 Defendants.                                )
                                                            )


                       CONSENT MOTION FOR EXTENSION OF TIME

        Defendants Lauren Drake and Mlegal Group, Inc. (collectively, the “Defendants”), by

counsel, and with the consent of Plaintiff Major, Lindsey & Africa, LLC (“MLA”), bring this

motion to extend time for filing their opposition to MLA’s Motion for Preliminary Injunction

(the “Motion”) which is currently due Friday, November 15, 2019.1 The Court has set a hearing

on the Motion for Preliminary Injunction for December 2, 2019.

        The parties have agreed to a settlement of this matter rendering the need for further

pleadings or proceedings moot. However, pursuant to the requirements of the Older Workers

Benefit Protection Act, the settlement agreement will not become effective until November 22,

2019, following the expiration of the mandatory seven-day revocation period. Thereafter, the

parties have agreed that that a stipulation of dismissal will be filed removing this case from the

Court’s docket.

        To allow for the revocation period to run and the stipulation of dismissal to be filed, and

so as not to force the parties or the Court to expend unnecessary resources on this matter,


1
 Defendants received service of the Motion on Friday, November 8, 2019. Pursuant to LCvR 65.1(c) shall be filed
within seven days after service.

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Defendants, with the consent of MLA, request that the deadline for filing any opposition to the

Motion be extended through November 22, 2019.

       Neither the Defendants nor MLA have requested any previous extensions in this matter.

In addition, as the parties have agreed to a settlement of this matter, this extension will have no

impact on other previously set deadlines.

       In accordance with LCvR 7(m), counsel for the parties have discussed this motion, and

confirmed that there is no opposition hereto.

Dated: November 14, 2019                              Respectfully submitted,



                                                      /s/ John D. Clifford
                                                      John D. Clifford
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on November 14, 2019, a copy of the foregoing Consent Motion for

Extension of Time was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

system.



                                                      /s/ John D. Clifford
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